                                              Entered on Docket
                                              August 09, 2023
                                              EDWARD J. EMMONS, CLERK
                                              U.S. BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF CALIFORNIA


 1                                                Signed and Filed: August 9, 2023

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                                                  ________________________________________
 5                                                DENNIS MONTALI
                                                  U.S. Bankruptcy Judge
 6
 7                        UNITED STATES BANKRUPTCY COURT
 8                       NORTHERN DISTRICT OF CALIFORNIA
 9
     In re                                   ) Bankruptcy Case
10                                           ) No. 23-10092-DM
     ORDELL ELIZABETH MOON,                  )
11                                           ) Chapter 13
12                     Debtor.               )
                                             ) HEARING HELD
13                                           ) Date: August 9, 2023
                                             ) Time: 10:10 a.m.
14                                           ) Via Tele/Videoconference
15                                           )

16                               ORDER DISMISSING CASE

17           On August 9, 2023, the court held a hearing on the Motion
18   of Chapter 13 Trustee, David Burchard, to Dismiss Case Prior to
19   Confirmation (“Motion”) (Dkt. 67) and Debtor’s Objection to Any
20   Proof of Claim Filed by Deutsche Bank National Trust Company
21   (“Objection”) (Dkt. 38).        Appearances are noted on the record.
22           For the reasons stated on the record at the August 9
23   hearing on the Motion and the Objection, the Motion is GRANTED
24   and this case is DISMISSED, provided, however, the court retains
25   jurisdiction to dispose of the Objection.
26                               *** END OF ORDER ***
27
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                                  COURT SERVICE LIST
 1
 2   Ordell Elizabeth Moon
     1905 Bristol St.
 3   Petaluma, CA 94954

 4   Donald Shannon
     420 Lakeville St.
 5
     Petaluma, CA 94952
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Form DOC

                                  UNITED STATES BANKRUPTCY COURT
                                    California Northern Bankruptcy Court

In Re: Ordell Elizabeth Moon                               Case No.: 23−10092 DM 13
                                                           Chapter: 13
        Debtor(s)




                                      NOTICE OF DISMISSAL OF CASE




   Notice is given that an order was filed on 8/9/23 dismissing the above−captioned case effective 8/9/23.



Dated: 8/9/23                                    For the Court:


                                                 Edward J. Emmons
                                                 Clerk of Court
                                                 United States Bankruptcy Court

Doc # 75




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                                                      1
                                                     Notice Recipients
District/Off: 0971−1                       User: admin                           Date Created: 8/9/2023
Case: 23−10092                             Form ID: DOC                          Total: 20


Recipients submitted to the BNC (Bankruptcy Noticing Center) without an address:
cr          Cenlar FSB as Servicer for Citibank, N.A.
cr          Citibank, N.A.
cr          Cenlar FSB, servicer for Citibank, N.A.
                                                                                                                    TOTAL: 3

Recipients of Notice of Electronic Filing:
ust         Office of the U.S. Trustee / SR       USTPRegion17.SF.ECF@usdoj.gov
tr          David Burchard          TESTECF@burchardtrustee.com
aty         Christina J. Khil        christinao@mclaw.org
aty         Fanny Zhang Wan            fwan@raslg.com
aty         Nathan Frederick Jones Smith         nathan@mclaw.org
aty         Theron S. Covey          tcovey@raslg.com
                                                                                                                    TOTAL: 6

Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          Ordell Elizabeth Moon         1905 Bristol St.       Petaluma, CA 94954
cr          Synchrony Bank          c/o PRA Receivables Management, LLC            P.O. Box 41021       Norfolk, VA 23541
cr          Deutsche Bank National Trust Company, as Indenture Trustee under the Indenture relating to IMH Assets Corp.,
            Collateralized Asset−Backed Bonds, Series 2005−7           Robertson, Anschutz, Schneid & Crane LLP       350 10th
            Avenue, suite 1000         San Deigo, CA 92101
intp        Don Shannon         420 Lakeville St.        Petaluma, CA 94952
smg         CA Franchise Tax Board          Bankruptcy Group          P.O. Box 2952        Sacramento, CA 95812−2952
smg         CA Employment Development Dept.             Bankruptcy Group MIC 92E           P.O. Box 826880       Sacramento,
            CA 94280−0001
15490150 Citibank, N.A.           c/o Cenlar, FSB, Attn: Bankruptcy Dept.        425 Phillips Blvd.     Ewing, NJ 08618
15503260 Dan Joyce           85 Cavanaugh Ln          Petaluma, CA 94952
15529585 FRANCHISE TAX BOARD                    BANKRUPTCY SECTION MS A340                   PO BOX
            2952        SACRAMENTO CA 95812−2952
15490218 PHH Mortgage Corporation              Bankruptcy Department−P.O. Box 24605            West Palm Beach, FL
            33416−4605
15478345 Trustee Corps           17100 Gillette Ave.        Irvine,CA 92614
                                                                                                                   TOTAL: 11




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                                                              1
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Recipients of Notice of Electronic Filing:
ust         Office of the U.S. Trustee / SR   USTPRegion17.SF.ECF@usdoj.gov
tr          David Burchard          TESTECF@burchardtrustee.com
                                                                                                   TOTAL: 2

Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          Ordell Elizabeth Moon     1905 Bristol St.    Petaluma, CA 94954
                                                                                                   TOTAL: 1




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